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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT of CALIFORNIA

                                  CRIMINAL MINUTES

 Judge:            Jon S. Tigar                        Time in Court:     8 minutes
 Date:             January 17, 2025
 Case No.:         4:20-cr-00266-JST-1

 United States of America             v.      Michael Brent Rothenberg

                                             Defendant
                                            Present
                                            Not Present
                                            In Custody

 Benjamin Kleinman                                     Gail Shifman

 U.S. Attorney                                         Defense Counsel

 U.S. Probation    Salvador Tinoco
                   for Ashley Polk
                                                       Court Reporter: Stephen Franklin
 Courtroom Deputy Clerk: Dianna Shoblo                 via zoom


                                      PROCEEDINGS

Status Conference – Held.

                                  RESULT OF HEARING


   1. Court appoints Gail Shifman as attorney of record for the Defendant, Nunc Pro Tunc to
      01/09/2025. Defense Counsel requests additional time to review the case. The Court
      places matters on the record regarding the status of the case.
   2. Further Status Conference set for 05/09/2025 at 9:30 AM in Courtroom 6, 2nd floor, in
      Oakland.




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